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                                THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW MEXICO


UNITED STATED OF AMERICA,

            Plaintiff,

v.                                                                                No. CR 22-01975 JCH

ZOILO ORTIZ-ORTIZ,

            Defendant.



                                MEMORANDUM OPINION AND ORDER

            Defendant Zoilo Ortiz-Ortiz filed a Motion to Suppress Evidence (ECF No. 20), on which

this Court held an evidentiary hearing on October 3, 2023. Although Defendant in his reply raised

additional issues for the first time, because those issues were not fully briefed, the Court declined

to consider them in the hearing. The Court, however, allowed Defendant an opportunity to address

by separate motion the issues initially raised in his reply brief. Consequently, the Court rules herein

on the only issue raised by the motion, fully briefed, and addressed at the hearing: whether Agent

Juan Rodriguez had reasonable suspicion or probable cause to believe Defendant committed a

traffic violation to support the initial stop of the vehicle. Finding that he did based on the evidence

and applicable law, the Court will deny the motion to suppress.

       I.       FACTUAL BACKGROUND 1

            On the morning of November 14, 2022, Homeland Security Investigations (“HSI") Special

Agent Patrick Werick, who is based in New Mexico in the drug interdiction group, received a call

from Arizona Department of Public Safety Trooper Aaron Richmond. Richmond informed Werick



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    The Court finds the following facts after considering the evidence submitted and presented at the hearing.
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that a black 4-door BMW bearing Arizona temporary license plate YYA6PG might be traveling

through New Mexico that day with illegal narcotics. Werick then contacted Bureau of Indian

Affairs K-9 Officer Nicholas Jackson, who serves as a Task Force Officer with HSI, and asked

Jackson to put out a be-on-the-lookout on the vehicle.

       Jackson told Werick that he ran the license number of the BMW in the License Plate Reader

System, which is a law enforcement system that reads the license plates of some vehicles on the

interstates. Jackson said he received a hit for the vehicle on eastbound Interstate 40 coming towards

New Mexico.

       New Mexico State Police Agent Juan Rodriguez was working that day on Interstate 40.

His primary duties were enforcing the traffic laws on the interstates, and he has training and law

enforcement experience on New Mexico state traffic laws. That morning, he received notice from

either Werick or Jackson that a black BMW with Arizona license plate YYA6PG might be

traveling in NM and possibly contain narcotics.

       Rodriguez was in his patrol vehicle parked in the median of Interstate 40 at mile marker

126 when he first saw the black BMW with Arizona license plate YYA6PG traveling eastbound

on Interstate 40. Rodriguez waited until it was safe to enter the highway, and then he began to

follow the BMW, accelerating to catch up with it. Around mile markers 128 to 129, he observed

the BMW following within two car lengths of the work truck in front of him. Based on the highway

speeds of 75 mph and the conditions in that area, Rodriguez believed that the driver of the BMW

was following too closely than was reasonable and prudent for that speed in violation of N.M. Stat.

Ann. § 66-7-318.

       Rodriguez then conducted a traffic stop of the BMW and issued a written warning to the

driver, who was later identified as Defendant Ortiz-Ortiz, for the following-too-closely violation.



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Ortiz-Ortiz signed the written warning that contained an acknowledgment that he received the

notice and agreed that a violation of the law had been committed.

          Rodriguez’s dash camera did not activate until after he engaged his emergency equipment,

which occurred after the traffic violation. The violation was thus not captured on video, even

though Rodriguez could have activated his dash camera manually. According to the CAD report

from the incident, there is no mention of the following too closely violation. (See Def.’s Hr’g Ex.

E.) Because of the tip from Werick, Rodriguez intended to stop the BMW if he witnessed a traffic

violation.

    II.      ANALYSIS

          A traffic stop is a seizure under the Fourth Amendment, and its legality is subject to the

framework established in Terry v. Ohio, 392 U.S. 1 (1968). See United States v. Polly, 630 F.3d

991, 997 (10th Cir. 2011); United States v. Rodriguez-Rodriguez, 550 F.3d 1223, 1226 (10th Cir.

2008). Under the Terry analysis, a court first looks to whether the officer’s action was justified at

its inception. Polly, 630 F.3d at 997. Second, the court considers whether the detention was

reasonably related in scope to the circumstances that justified the detention initially. Id. The

Court’s analysis is limited herein to the first issue – whether Rodriguez’s action was justified at its

inception in conducting the initial traffic stop.

          “A traffic stop is justified at its inception if an officer has (1) probable cause to believe a

traffic violation has occurred, or (2) a reasonable articulable suspicion that a particular motorist

has violated any of the traffic or equipment regulations of the jurisdiction.” Id. (quoting United

States v. Winder, 557 F.3d 1129, 1134 (10th Cir. 2009)). An officer may conduct a stop if he has

a reasonable suspicion that criminal activity is, has, or is about to occur. Winder, 557 F.3d at 1135.




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       Defendant argues that the stop of his vehicle was not based on reasonable suspicion or

probable cause, and instead was an unconstitutional pretextual stop to investigate him for drug

trafficking. According to Defendant, the video evidence from the dash cam shows that he was

more than 90 feet behind the car ahead of him, a reasonable distance that did not violate § 66-7-

318. In response, the Government argues that Agent Rodriguez observed the following-too-closely

traffic violation before his dash cam video began recording, so the violation justifying the traffic

stop was not captured by the video evidence.

       Section 66-7-318 states, in relevant part: “The driver of a motor vehicle shall not follow

another vehicle more closely than is reasonable and prudent, having due regard for the speed of

the vehicles and the traffic upon and the condition of the highway.” N.M. Stat. Ann. § 66-7-318(A).

The phrase “reasonable and prudent” in § 66-7-318 requires one to look at the road conditions, the

amount of traffic nearby, and the speed of the vehicles. State v. Chavez, 2018-NMCA-056, ¶ 8,

427 P.3d 126.

       In Chavez, the New Mexico Court of Appeals upheld a stop and subsequent conviction of

the defendant for a following-too-closely violation of § 66-7-318. Chavez, 2018-NMCA-056, ¶¶

4, 10. There, the officer testified that she observed the defendant’s vehicle following another

vehicle with “no sky” between the vehicles, leading her to believe the distance was less than a car

length. Id. ¶ 2. She testified that she followed a “highway standard” that for every 10 mph, the

vehicle should have a car length in between it and the vehicle in front. Id. The New Mexico Court

of Appeals affirmed the convictions. Id. ¶¶ 1, 8.

       In this case, the Court finds that Rodriguez’s testimony was credible and that he witnessed

Defendant driving two vehicle lengths behind the work truck at highway speeds. The Chavez case

supports Rodriguez’s conclusion that the BMW driver, following the truck at the distance of two



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car lengths at highway speeds at or near 75 mph, violated § 66-7-318. See also United States v.

Zazueta, No. Cr. 09-2047 JH, Mem. Op. and Order 8 (D.N.M. Mar. 25, 2010) (concluding officer

had reasonable suspicion to stop vehicle for following too closely where officer testified that car

driving two-to-three car lengths behind car in front of it was unreasonably close on section of

winding, hilly roadway, with wildlife present in area, and a 55-mph speed limit).

        In support of his argument that the Government cannot show reasonable suspicion or

probable cause to support his initial detention, Defendant relies on the lack of evidence in the

videos, the lack of evidence in the CAD, and the motivation of Rodriguez to stop the BMW for a

drug trafficking investigation. As for the first two arguments, despite the lack of video and CAD

report evidence, the Court finds Rodriguez was credible and that he witnessed the traffic violation

of following too closely before his dash camera activated. Moreover, Defendant did not contest

the written warning given for that violation. Turning then to the latter argument, Rodriguez’s

subjective motivation for wanting to determine if there was evidence of drug trafficking does not

undermine the constitutional reasonableness of the traffic stop so long as he observed the BMW

following the work truck too closely before he conducted the stop. See Whren v. United States,

517 U.S. 806, 810-13 (1996) (constitutional reasonableness of traffic stops depends on whether

police have probable cause to believe traffic violation occurred, not on subjective motivation of

officer); Polly, 630 F.3d at 997 (fact that traffic stop was ruse is legally irrelevant because officer’s

subjective intent or good faith does not affect reasonableness of stop). Clearly, Rodriguez wanted

to stop the BMW to pursue a drug trafficking investigation, but that is permissible so long as he

waited to pull over the vehicle until after witnessing a traffic violation. Because the Court finds

Rodriguez’s testimony credible that he observed the BMW only two car lengths behind the work

truck on Interstate 40, there was probable cause to pull Ortiz-Ortiz over for a violation of N.M.



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Stat. Ann. § 66-7-318. The initial stop of the vehicle was therefore constitutional, and the Court

will deny the motion to suppress on that basis.

       IT IS THEREFORE ORDERED that Defendant’s Motion to Suppress Evidence (ECF

No. 20) is DENIED based on the unconstitutionality of the initial stop of the vehicle. Defendant

may file a separate motion to suppress within FOURTEEN (14) calendar days of receiving

discovery concerning the reliability of the canine on issues that Defendant raised for the first time

in his reply concerning the scope of the detention and probable cause to search the vehicle.



                                      ______________________________________________
                                      SENIOR UNITED STATES DISTRICT JUDGE




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